
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date June 30, 1965.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law. See Thomas Smith Farms, Inc. v. Alday, Fla., 182 So.2d 405, opinion filed February 2, 1966.
The petition is therefore denied.
THORNAL, C. J., and ROBERTS,. DREW and ERVIN, JJ., concur.
THOMAS and CALDWELL, JJ., dissent.
